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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA,

 Plaintiff,
                                                        CRIMINAL NO. 08-175 (ADC)
                v.

 [10] EDWARD ALGARIN-RUIZ,

 Defendant.


                         REPORT AND RECOMMENDATION

       Defendant Edward Algarín-Ruíz was charged in Counts One (1) through Five (5), and

Count Seven (7) of an Indictment and he agreed to plead guilty to Count One of the

Indictment. Count One charges that, on a date unknown, but no later than in or about the

year 2005, and continuing up to and until the return of the instant Indictment, that is, May 7,

2008, in the Municipality of Ponce, District of Puerto Rico, and within the jurisdiction of this

Court, defendant [10] Edward Algarín-Ruíz, and other persons, did knowingly and

intentionally, conspire, combine and agree with diverse other persons known and unknown

to the Grand Jury, to commit an offense against the United States, that is, to knowingly and

intentionally possess with intent to distribute and/or to distribute controlled substances, to

wit: in excess of one (1) kilogram of heroin, a Schedule I Narcotic Controlled Substance;

and/or in excess of fifty (50) grams of cocaine base, a Schedule II Narcotic Drug Controlled

Substance; and/or in excess of five (5) kilograms of cocaine, a Schedule II, Narcotic Drug

Controlled Substance; and/or in excess of one hundred (100) kilograms of marijuana, a

Schedule I, Controlled Substance; within one thousand (1,000) feet of the real property

comprising a public or private school, as prohibited by Title 21, United States Code, Sections

841(a)(1) and 860. All in violation of Title 21, United States Code, Sections 846.
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         On October 8, 2008, defendant appeared before this Magistrate Judge, since the Rule11

hearing was referred by the Court. Defendant was provided with a Waiver of Right to Trial by

Jury, which he signed and agreed upon voluntarily after examination in open court, under

oath.

         Defendant indicated and confirmed his intention to plead guilty to Count One of the

Indictment, upon being advised of his right to have said proceedings before a district judge of

this court.1 Upon verifying through defendant’s statement his age, education and any relevant

aspect as to the use of medication, drugs, alcohol or substance dependency, and psychological

or psychiatric condition, to ascertain his capacity and ability to understand, answer and

comprehend the interactive colloquy with this Magistrate Judge, a determination was made

as to defendant’s competency and ability to understand the proceedings.

         Having further advised defendant of the charges contained in above-stated Count One,

he was examined and verified as being correct that: he had consulted with his counsel, Artemio

Rivera-Rivera, prior to the hearing for change of plea, that he was satisfied with the services

provided by his legal representative and had time to discuss with him all aspects of the case,

insofar, among other things, regarding the change of plea, the consent to proceed before a

United States Magistrate Judge, the content of the Indictment and the charges therein, his

constitutional rights and the consequences of the waiver of same.

         Defendant was specifically apprised by this Magistrate Judge that, upon withdrawing

his initial plea of not guilty and now entering a plea of guilty to the charge specified, he was

waiving his right to a public, speedy, and a trial by jury constituted by twelve jurors who have

to unanimously agree to a verdict. He was also waiving his right to be presumed innocent and



         1
           The form entitled Consent to Proceed Before a United States Magistrate Judge in a Felony Case for Pleading
Guilty (Rule 11, Fed.R.Crim.P.) and Waiver of Jury Trial, signed and consented by both parties is made part of the record.
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for the government to meet the obligation of establishing his guilt beyond a reasonable doubt.

Furthermore, he was waiving his right during said trial to confront the witnesses who were to

testify against him and be able to cross-examine them, through counsel at said trial, as well as

present evidence on his behalf. He was also waiving the right to compel the attendance of

witnesses and that subpoenas be issued to have them appear in court to testify. Defendant was

specifically apprised of his right to take the stand and testify, if he so decided, or not to testify,

and no inference or decision as to his guilt could be made from the fact if he decides not to

testify. Defendant was also explained his right not to incriminate himself; that upon such a

waiver of all above-discussed rights a judgment of guilty and his sentence were to be based on

his plea of guilty, and he would be sentenced by the judge after considering the information

contained in a pre-sentence report.

        As to all the above, defendant provided an individualized and positive acknowledgment

of each and every waiver and, with the assistance of his counsel, Attorney Rivera-Rivera,

indicated he freely and voluntarily waived those rights and understood the consequences.

During all this colloquy, defendant was made aware that he could freely request from this

Magistrate Judge any additional clarification, repetition, or ask questions and that he may

consult with his attorney at any given time as to any issue.

        Defendant expressed his understanding of the penalties prescribed by statute for the

offenses as to which he was pleading guilty. The penalty for the offense charged in Count One

is term of imprisonment of not less than (10) years and up to life imprisonment, a fine not to

exceed four million dollars ($4,000,000.00), a term of supervised release of at least five (5)

years in addition to any term of incarceration. In accordance with Title 21, United States Code,

Section 860, the maximum penalties would be twice that of Section 841, and at least twice the

term of supervised release authorized by Section 841.
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        However, based on the stipulated and agreed amount of narcotics possessed by the

defendant, that is, at least thirty-five (35) grams but less than fifty (50) grams of cocaine base,

the penalty for the offense shall be, a term of imprisonment of not less than five (5) years and

not more than forty (40) years, and a fine not to exceed two million ($2,000,000.00) a term

of supervised release of at least four (4) years, all pursuant to Title 21, United States Code,

Section 841(b)(1)(B). Nonetheless, in accordance with Title 21, United States Code, Section

860, the maximum penalties would be twice that of Section 841(b)(1)(B), and at least twice the

term of supervised release authorized by Section 841(b)(1)(B).

        The Court must also impose a mandatory penalty assessment of one hundred

dollars($100.00), per count, to be deposited in the Crime Victim Fund.

        Having ascertained directly from defendant that he had not been induced in any way

to plead guilty, that no one had forced him in any way to plead guilty, nor that he had been

offered any reward or any other thing of value to get him to plead guilty, the document entitled

“Plea Agreement” pursuant to Rule 11(c)(1)(B) FRCP (“the Agreement”) and the “Plea

Agreement Supplement” were shown to defendant, verifying his signature and initials on each

and every page.

        Pursuant to said Agreement, and insofar as Count One, as to which defendant already

was aware of the maximum possible penalties, defendant was apprised that it was up to the

sole discretion of the sentencing court what the sentence to be imposed on him will be.

Defendant was specifically informed that if the sentencing court were to impose a sentence

which turned out to be higher or more severe than the one he might be expecting, for said

reason alone, defendant would have no grounds for the court to allow him to withdraw his plea

of guilty.
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        The above-captioned parties’ estimate and agreement that appears on page four (4) and

five (5), paragraph seven (7) of the Agreement, regarding the possible applicable advisory

Sentencing Guidelines, were further elaborated and explained. The parties stipulate that, as

part of the plea agreement, the defendant is accepting responsibility for at least thirty-five (35)

grams but less than fifty (50) grams of cocaine base. Pursuant to U.S.S.G. § 2D1.1(6), the Base

Offense Level is of Twenty-Eight (28). Pursuant to U.S.S.G. § 2D1.2(a)(1), a two (2) level

increase is warranted for protected location. Pursuant to U.S.S.G. § 2D1.1(b)(1), a two (2) level

increase is warranted for firearms. Pursuant to U.S.S.G. § 3E1.1, a decrease of three (3) levels

is agreed for acceptance of responsibility. Therefore, the Total Offense Level is of Twenty-Nine

(29), yielding an imprisonment range of eighty-seven (87) to one hundred and eight (108)

months, assuming a Criminal History Category of I.

        The parties agree to recommend a term of imprisonment of ninety-seven (97) months

in the event that defendant’s Criminal History Category is I or II. Should the defendant’s

criminal history category be III or higher, the parties would then recommend that the

defendant be sentenced at the lower end of a total offense level twenty-nine (TOL 29). Any

recommendation for a term of imprisonment of less than ninety-seven (97) months would

constitute a breach of the plea agreement.

        Pursuant to paragraph 8, the United States and the defendant agree that no further

adjustments or departures to the defendant’s total adjusted base offense level shall be sought

by the parties.

        At sentencing, the United States shall request the dismissal of the remaining counts of

the Indictment which were filed against the defendant.
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        As part of the written Agreement, the government, the defendant, and his counsel also

agreed they are aware that the Sentencing Guidelines are no longer mandatory and are thus

considered advisory.

        The government presented to this Magistrate Judge and to defendant, assisted by his

counsel, a summary of the basis in fact for the offenses charged and the evidence the

government had available to establish, in the event defendant had elected to go to trial, the

commission of the offense, beyond a reasonable doubt. Counsel and defendant acknowledged

the evidence of the government was fully disclosed to them and previously discussed between

the two. Defendant was able to understand this explanation and agreed with the government’s

submission.

        Defendant was explained that the Agreement with the government does not bind any

other district, except the district of Puerto Rico, and it contained all the promises, terms and

conditions which defendant, his attorney and the government, have entered.

        Having once more ascertained that defendant has indicated not being induced to plead

guilty, and was entering such a plea because in fact he is guilty, without any promises or

predictions being made as to the sentence to be imposed by the court, defendant was informed

that parole has been abolished under the advisory Sentencing Reform Act and that any

sentence of imprisonment would be served, without him being released on parole. Defendant

was additionally informed that prior to sentence, the sentencing judge will have a pre-sentence

report and that it would be made available to him, to his counsel and to the government, so

that they be allowed to correct or object to any information contained in said report which was
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not accurate. Depending on the facts found by the court at the time and the sentence imposed,

both defendant and the government may appeal the sentence of the court.2

        Count One of the Indictment was read in open court to defendant and he stated he

understood the charges and that he was pleading guilty to Count One. Defendant was shown

a written document entitled Statement of Facts, which had been signed by defendant and his

counsel and is attached to the Agreement, wherein the signature of counsel for the government

also appears. Defendant was provided an opportunity to see and examine same, indicating

he availed himself of the opportunity to further discuss same with his attorney and then he

positively stated that what was contained in Count One was what he had done and to which he

was pleading guilty during these proceedings. Thereafter, defendant expressed in no uncertain

terms that he agreed with the government’s evidence as to his participation in the offense.

Thereupon, defendant indicated he was pleading guilty to Count One of the Indictment in

Criminal No. 08–175 (ADC).

        This Magistrate Judge after having explained to the defendant his rights, ascertaining

that he was acting freely and voluntarily to the waiver of such rights and in his decision of

pleading guilty, with full knowledge of the consequences thereof, and there being a basis in fact

for such a plea, is recommending that a plea of guilty be entered as to Count One of the

Indictment in Criminal No. 08-175 (ADC).




        2
          The right to appeal is subject to certain limitations allowed by law since the Agreement also includes in
paragraph seventeen (17) a waiver of appeal. Defendant acknowledged discussing the waiver of appeal with his counsel
and stated he understood the consequences of the same.
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        IT IS SO RECOMMENDED.

        The sentencing hearing will be scheduled promptly, before Honorable Aida M. Delgado-

Colón, District Court Judge.

        San Juan, Puerto Rico, this 9th day of October of 2008.



                                                       s/ CAMILLE L. VELEZ-RIVE
                                                       CAMILLE L. VELEZ-RIVE
                                                       UNITED STATES MAGISTRATE JUDGE
